             In the
        Court of Appeals
Second Appellate District of Texas
         at Fort Worth
     ___________________________

          No. 02-23-00299-CR
     ___________________________

    ANTHONY STEPHENS, Appellant

                    V.

         THE STATE OF TEXAS


  On Appeal from the 485th District Court
         Tarrant County, Texas
        Trial Court No. 1678472


  Before Birdwell, Bassel, and Womack, JJ.
  Memorandum Opinion by Justice Birdwell
                           MEMORANDUM OPINION

       Anthony Stephens appeals his conviction for aggravated assault with a deadly

weapon, a second-degree-felony offense. See Tex. Penal Code Ann. § 22.02(a)(2).

Stephens entered a guilty plea without the benefit of a sentencing bargain1 and elected

to have his punishment assessed by the trial judge. Following a sentencing hearing, the

trial court sentenced Stephens to fifteen years’ incarceration. This appeal followed. 2

       On appeal, Stephens’s court-appointed appellate counsel has filed a motion to

withdraw as counsel and a brief reflecting that counsel has determined, after

examining the appellate record, that no arguable grounds for appeal exist. See Anders v.

California, 386 U.S. 738, 744–45, 87 S. Ct. 1396, 1400 (1967). Counsel’s brief and

motion meet the requirements of Anders by presenting a professional evaluation of the

entire record in the case demonstrating why there are no arguable grounds for relief.

Id., 87 S. Ct. at 1400. Stephens filed a pro se response to the Anders brief. 3 The State




       Although Stephens and the State did not enter into a sentencing bargain, they
       1

did enter into a charge bargain. See Thomas v. State, 516 S.W.3d 498, 502 (Tex. Crim.
App. 2017) (explaining the difference between “sentence bargains” and “charge
bargains”). In exchange for Stephens’s pleading guilty to the aggravated-assault-with-
a-deadly-weapon count, the State agreed to waive three additional counts for which he
had been indicted.

       Stephens filed a motion for new trial, which was overruled by operation of
       2

law.
       3
        Stephens filed his response in the trial court, but it was forwarded to this court
in a supplemental clerk’s record.

                                            2
did not file a brief but noted in a letter that it agreed with Stephens’s counsel that

there are no meritorious grounds for appeal.

      We have independently examined the record, as is our duty upon the filing of

an Anders brief. See Stafford v. State, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991); see

also Penson v. Ohio, 488 U.S. 75, 82–83, 109 S. Ct. 346, 351 (1988). After carefully

reviewing the record and counsel’s brief, we agree with counsel that this appeal is

wholly frivolous and without merit. Our independent review of the record reveals

nothing further that might arguably support the appeal. See Bledsoe v. State, 178 S.W.3d

824, 827–28 (Tex. Crim. App. 2005); see also Meza v. State, 206 S.W.3d 684, 685 n.6

(Tex. Crim. App. 2006). Accordingly, we grant counsel’s motion to withdraw and

affirm the trial court’s judgment.

                                                      /s/ Wade Birdwell

                                                      Wade Birdwell
                                                      Justice

Do Not Publish
Tex. R. App. P. 47.2(b)

Delivered: August 22, 2024




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